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OFFICE OF THE UNDER SECRETARY OF DEFENSE
4000 DEFENSE PENTAGON
WASHINGTON, D.C. 20301-4000

MAR 2 + 2025

PERSONNEL AND
READINESS

MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
COMMANDERS OF THE COMBATANT COMMANDS
DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

SUBJECT: Compliance with Federal Court Order in Talbott v. United States,
No. 25-cv-00240 (D.D.C.)

On Tuesday, March 18, 2025, the United States District Court for the District of
Columbia issued the attached preliminary injunction order and memorandum opinion in the case
of Talbott v. United States.

On Friday, March 21, 2025, the Court extended its stay of its preliminary injunction order
until 48 hours after the Court rules on the U.S. Government’s motion to dissolve the preliminary
injunction or until such other time as the Court deems appropriate.

Accordingly, the attached preliminary injunction order is not currently in effect. Ifa
preliminary injunction order goes into effect, I will provide updated guidance at that time.

Additionally, I direct that no involuntary separation processes may be initiated pursuant
to Performing the Duties of the Under Secretary of Defense for Personnel and Readiness
Memorandum, “Additional Guidance on Prioritizing Military Excellence and Readiness,”
February 26, 2025, until March 28, 2025.

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Ju

les W. Hurst III
Performing the Duties of the Under Secretary of
Defense for Personnel and Readiness

Attachments:
As stated
